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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION USAUGSO AH 7

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KEVIN MILLEN,
Plaintiff,
Vs. No. 05-2070-Ml/An

WENDY’S RESTAURANT,

Defendants.

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ORDER OF DISMISSAL

 

Plaintiff Kevin Millen filed a ppg §§ complaint on the
form used for commencing actions pursuant to 42 U.S.C. § 1983 on
January 27, 2005, along with a motion seeking leave to proceed pp
§p;ma pauperis. As the plaintiff’s motion to proceed ip fp;ma
pauperis contained no information concerning his monthly income,
assets, and financial obligations, the Court issued an order on
April 22, 2005 denying leave to proceed in fp;ma pauperis and
directing the plaintiff to pay the $150 civil filing fee within
thirty days. On April 28, 2005, plaintiff submitted a document,
entitled “Motion to have In Forma Pauperis Status Granted,” which
the Court construed as a motion for reconsideration and, as so
construed, denied in an order issued on May 13, 2005. On May 24,
2005, plaintiff filed another motion, entitled “Order Asking for
Leave to Use In Forma Pauperis And Order Directing Defendants to

Pay' Monetary funds [sic] Owed to Plaintiff,” which the Court

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with Hu!e 58 and/or 79(a) FHCP on 8 '&:Q,i

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construed as a second motion seeking reconsideration of the
decision denying leave to proceed ip fp£ma pauperis. The Court
issued an order on July 19, 2005 denying the motion for
reconsideration and advising the plaintiff that, “[i]f the civil
filing fee is not paid by August 5, 2005, this action will be
dismissed, Without prejudice, for failure to prosecute.” 07/19/05
Order at 3.

The date specified in the July 19, 2005 order has passed,
and the plaintiff has not paid the civil filing fee. Accordingly,
the Court DISMISSES the complaint without prejudice, pursuant to
Fed. R. Civ. P. 4l(b), for failure to prosecute.

IT Is so oRDERED this »Zq day of August, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

TATEsDIsTRICT oURT - WETRNDIsTCRIT oF ENNEssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02070 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

Kevin Millen
4104 StillWood Dr.
i\/lemphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

